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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )          Case No. 4:03CR3014-5
                                             )
       vs.                                   )
                                             )          MEMORANDUM
CHRISTOPHER A. GANT,                         )          AND ORDER
                                             )
                     Defendant.              )

       The parties have stipulated that I should reduce the defendant’s sentence given the
retroactive amendment of the “Crack” Guidelines. Kelly Nelson, the highly regarded
Supervising United States Probation Officer, recommends that I not grant the motion to
reduce the defendant’s sentence. Mr. Nelson is concerned with Mr. Gant’s extensive
criminal history which garners a mind-boggling 45 criminal history points. Therefore,

        IT IS ORDERED that counsel for both sides shall submit a brief to me no later than
October 27, 2008, explaining to me why I should grant the reduction. After I receive the
briefs, I will make my decision. My chambers shall call this to my attention on October 28,
2008.

       October 16, 2008.                  BY THE COURT:

                                          s/ Richard G. Kopf
                                          United States District Judge
